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                                          DISTRICT OF NEVADA
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      DAVID LEONI,                                  Case No. 2:17-cv-01408-RFB-VCF
22
                         Plaintiff,                 STIPULATION AND ORDER TO EXTEND
23                                                  BRIEFING DEADLINES
             v.
24                                                  [First Request]
      EXPERIAN INFORMATION SOLUTIONS,
25    INC. and MILITARY STAR,

26                       Defendants.

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 1           Pursuant to LR 6-1 and LR 7-2(b), Plaintiff and Experian Information Solutions, Inc. (the
 2    “Parties”), by and through their respective counsel of record, hereby stipulate and request that
 3    this Court modify the briefing schedules for the Parties’ respective Motions for Summary
 4    Judgment (‘Summary Judgment Motions”), as well as Plaintiff’s Motion for Class Certification
 5    and Appointment of Class Counsel (“Class Certification Motion.”).
 6           1.      On November 1, 2018, Plaintiff filed his Summary Judgment Motion. ECF Dkt.
 7    90.
 8           2.      On November 1, 2018, Plaintiff filed his Class Certification Motion. ECF Dkt. 94.
 9           3.      On November 1, 2018, Experian filed its Summary Judgment Motion. ECF Dkt.
10    98.
11           4.      On November 15, 2018, Experian responded to Plaintiff’s Class Certification
12    Motion, ECF Dkt. 106.
13           5.      Plaintiff’s reply in support of his Class Certification Motion, and the Parties’
14    respective responses to the Summary Judgment Motions, are all presently due on November 23,
15    2018, one day after the Thanksgiving holiday.
16           6.      In light of the number of filings to be made one day after a major national
17    holiday, the parties request that the briefing deadlines be re-set as follows:
18           7.      Reply in support of Class Certification Motion: November 29, 2018.
19           8.      Responses to Summary Judgment Motions: November 29, 2018.
20           9.      Replies in support of Summary Judgment Motions: December 13, 2018.
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 1           This is the parties’ first request to re-set these briefing deadlines.   The requested
 2    extensions are being made in good faith and not for purposes of delay.
 3    IT IS SO STIPULATED.
 4    Dated: November 19, 2018
 5    /s/ Jennifer L. Braster                          /s/ Miles N. Clark
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16                                                ORDER
      IT IS SO ORDERED.
17
             November 20, 2018.
      Dated: _____                                    UNITED STATES DISTRICT JUDGE
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